
In re DeFrances, Ronald F.; — Plaintiff; Applying for Permanent Resignation.
ORDER
Considering the Petition for Voluntary Permanent Resignation from the Practice of Law filed by Ronald F. DeFrances, and the concurrence thereto filed by the Office of Disciplinary Counsel,
IT IS ORDERED that the request of Ronald F. DeFrances, Louisiana Bar Roll number 4800, for permanent resignation in lieu of discipline be and is hereby granted, pursuant to Supreme Court Rule XIX, § 20.1.
IT IS FURTHER ORDERED that Ronald F. DeFrances shall be permanently prohibited from practicing law in Louisiana or in any other jurisdiction in which he is admitted to the practice of law; shall be *26permanently prohibited from seeking readmission to the practice of law in this state or in any other jurisdiction in which he is admitted; and shall be permanently prohibited from seeking admission to the practice of law in any jurisdiction.
/a/ John L. Weimer Justice, Supreme Court of Louisiana
